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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
v.                                              )      Case No. 4:08CR3078
                                                )
PEEAIR SHAUN WARD,                              )
                                                )
                           Defendant.           )

                                         ORDER

        THIS MATTER comes before this Court on defendant's Unopposed Motion to

Continue the Deadline for Filing a Downward Departure/Variance Motion and Supporting

Brief, filing 79. The Court noting the government has no objection to the same, finds that

the motion should be granted.

        IT IS THEREFORE ORDERED that the defendant shall file any downward

departure/variance motion with supporting brief no later than Wednesday, October 22,

2008.

        Dated October 20, 2008.

                                   BY THE COURT

                                   s/ Warren K. Urbom
                                   United States Senior District Judge
